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                            UNITED STATES DISTRICT COURT
                             For the Northern District of Illinois −
                                       Eastern Division


Jacqueline Stevens                    )
Plaintiff,                            )
v.                                    )               Case No.:
                                      )
United States Immigration and Customs )
Enforcement and United States         )
Department Of Homeland Security       )
Defendants.                           )
                                      )


    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF UNDER THE
                   FREEDOM OF INFORMATION ACT

   1. This is an action under the Freedom of Information Act, (“FOIA”) 5 U.S.C. § 552,

seeking wrongfully withheld agency records relating to conditions of detention and medical

treatment of individuals held in detention by U.S. Immigration and Customs Enforcement

(“ICE”) and U.S. Department of Homeland Security (“DHS”). This complaint also seeks a

declaratory and injunctive relief to remedy Defendant ICE’s pattern and practice of systemic

violations of FOIA which includes: (1) failure to make determinations concerning FOIA requests

within the mandated statutory time periods; (2) failure to conduct proper searches to locate

documents responsive to FOIA requests; (3) failure to segregate non-exempt material in records

to which ICE had applied redactions; and (4) failure to allocate sufficient resources to address its

ever growing FOIA backlog.

   2. Plaintiff Stevens has been irreparably harmed by Defendants’ repeated and deliberate

violations of the Act: she needs the withheld records for her scholarship and journalism

analyzing professional and criminal misconduct in government agencies and corporations that

implement policies on behalf of U.S. national sovereignty.
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Jurisdiction and Venue

    3. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

and 5 U.S.C. § 522(a)(4)(B). This Court has further jurisdiction to grant declaratory relief

pursuant to 28 U.S.C. §2201-2202.

    4. Venue is proper under 5 U.S.C. § 552(a)(4)(B) because Plaintiff Stevens resides within

this District.

Parties

    5. Plaintiff is a professor of political science and the director of the Deportation Research

Clinic at Northwestern University, in Cook County, Illinois. Stevens’ office and principal

residence are in Cook County, Illinois.

    6. In 2011, Stevens published a scholarly article in the Virginia Journal of Social Policy &

the Law detailing the U.S. government's unlawful detention and deportation of U.S. citizens. The

article estimated that from 2003 to 2010, “more than 20,000 U.S. Citizens were detained or

deported,” and identified as the cause, “laws and regulations mandating detention and

deportation of hundreds of thousands of incarcerated people without attorneys.”1 This article was

featured in several publications and drew attention to the practice.2 Stevens also wrote an opinion

piece published in the New York Times on the issue.3



1
  Jacqueline Stevens, “U.S Government Unlawfully Detaining and Deporting U.S. Citizens as Al-
iens,” Virginia Journal of Social Policy & the Law, Spring, 2011, available at http://jacquelines-
tevens.org/StevensVSP18.32011.pdf .
2
  New York Times, “Immigration Crackdown Snares Americans” December, 2011, available at
http://www.nytimes.com/2011/12/14/us/measures-to-capture-illegal-aliens-nabciti-
zens.html?pagewanted=all ; Christian Science Monitor, “Deported teen returns to U.S. How many
Americans are mistakenly banned” January, 2012, available at http://www.csmoni-
tor.com/USA/2012/0107/Deported-teen-returns-to-US.-How-manyAmericans-are-mistakenly-
banished .
3
  Jacqueline Stevens, “Citizenship to Go,” New York Times May, 2012, available at http://www.ny-
times.com/2012/05/18/opinion/citizenship-to-go.html .
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    7. Since 2011, Stevens has continued to research, investigate and publish on the subject of

deportation of U.S. Citizens. In 2012, she founded the Deportation Research Clinic for the

purpose of studying government misconduct in deportation proceedings.4 In 2013 she was

awarded a Guggenheim fellowship to support her research on the deportation of U.S. citizens.5

In 2017 her co-edited book Citizenship in Question: Evidentiary Birthright and Statelessness was

published by Duke University Press. Duke sold the copyright to a non-profit librarian-run

consortium Knowledge Unlatched through which the collection is available worldwide at no

cost.6 Stevens’ contribution was awarded “Best Chapter” of 2017 by the Citizenship and

Migration Section of the American Political Science Association.7 Many of the cases she studied

have become lawsuits on behalf of the detained U.S. citizens, and have been widely reported.8

    8. Stevens’ past publications using documents obtained under the FOIA have been used to

draw national attention to secret ICE detention facilities in unmarked office parks and urban



4
  Jacqueline Stevens, “Forensic Intelligence and the Deportation Research Clinic: Toward a New
Paradigm,”        Perspectives     on       Politics,   September,      2015,    available   at
https://www.cambridge.org/core/journals/perspectives-on-politics/article/forensic-
intelligenceand-the-deportation-research-clinic-toward-a-
newparadigm/0ABA0DEA34330E5F755A628FAB0C5CCB
5
   Guggenheim Fellow announcement, 2013, https://www.gf.org/fellows/all-fellows/jacqueline-
stevens/.
6
   Citizenship in Question (2017), http://library.oapen.org/handle/20.500.12657/31762.
7
   Best Chapter Award, https://www.apsanet.org/MEMBERSHIP/Organized-
Sections/Organized-Section-Awards/Section-43#chapter.
8
  See, e.g., William Finnigan, “The Deportation Machine,” New Yorker, April 29, 2013,
https://www.newyorker.com/magazine/2013/04/29/the-deportation-machine; Mary Sanchez,
“How Broken is Our System? We Deport Citizens,” June 9, 2015,
https://www.chicagotribune.com/columns/sns-201506091930—tms--msanchezctnms-
a20150609-20150609-column.html; NPR, “You Say You’re An American, But What If You Had
to Prove it or be Deported?” December, 2016 available at
http://www.npr.org/sections/thetwoway/2016/12/22/504031635/you-say-you-re-an-american-
but-what-if-you-had-to-prove-it-or-bedeported; States Without Nations blogpost, available at
http://stateswithoutnations.blogspot.com/2016/02/how-many-us-attorneys-and-assistant.html;
NPR “In Rush to Deport, Expelling U.S. citizens” http://www.npr.org/2011/10/24/141500145/in-
the-rush-to-deport-expelling-u-s-citizens;
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buildings, the unlawful detention and deportation of U.S. citizens as aliens, migrant children

misidentified as adults based on dental radiographs, and major violations by private prisons of

state employment laws and the Trafficking Victims Protection Act, including forced labor.9 In

addition to scholarship and media coverage, the FOIA records she obtained and analyzed has

become the basis for litigation.10

    9. Stevens has spent years researching conditions of detention in ICE detention facilities,

working to identify systemic protocols and misconduct underlying the deportation of U.S.

Citizens and the violation of civil and constitutional rights of those detained. A primary tool in

her research efforts has been obtaining and reviewing U.S. government documents pursuant to

FOIA requests.

    10. Under the new administration, government misconduct in deportation proceedings has

generated additional media and Congressional attention to ICE policies and procedures,

including those surrounding the deportation of U.S. Citizens.11 ICE’s response has been to



9
   See e.g., Nadia Reiman, “My Very Unhappy Birthday,” This American Life,
https://www.thisamericanlife.org/679/save-the-girl/act-one-6; On the prison litigation; Jacqueline
Stevens, “When Migrants are Treated Like Slaves,” New York Times (April 4, 2018)
https://www.nytimes.com/2018/04/04/opinion/migrants-detention-forced-labor.html; Jacqueline
Stevens, Citizenship In Question: Evidentiary Birthright and Citizenship, “The Alien Who is a
Citizen” (2017); Jacqueline Stevens, “One Dollar Per Day: The Slaving Wages of Immigration
Jail, 1942 to Present,” Georgetown Immigration Law Journal (2015);
10
    See Gonzalez v. CORECIVIC, Inc., case no: 1:18-cv-00169 (filed 2/22/2018); Barrientos, et
al. v. CORECIVIC, Inc., case no: 4:18-cv-00070-CDL (filed 4/17/2018); Raul Novoa, et al v. The
GEO Group, Inc., case no: 5:17-cv-02514 (filed 12/20/2017); Chao Chen v. The GEO Group,
Inc., case no. 3:17-cv-05769 (filed 9/26/2017); State of Washington v. The GEO Group, Inc.,
case no. 17-2-11422 (09/20/2017); Alejandro Menocal et al. v. GEO Group, Inc., case no. 1-14-
cv-02887 (filed 10/21/2014)); Sylvester Owino and Jonathan Gomez et al. v. CoreCivic, case no.
3:17-cv-01112-jls-nls (filed 05/31/2017).
11
   See Tom Hals, “U.S. to ramp up rapid deportations with sweeping new rule,” Reuters, July 22,
2019, https://www.reuters.com/article/us-usa-immigration-deportation/us-to-ramp-up-rapid-
deportations-with-sweeping-new-rule-idUSKCN1UH275; The Daily Beast, “American Citizen
Trapped in ICE Jail” March, 2017, http://www.thedailybeast.com/articles/2017/03/31/american-
citizen-trapped-in-ice-jail.html; Prison Legal News, “Ignorance, Bureaucracy and Red Tape:
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further decrease transparency, leaving FOIA as the primary tool for researchers and journalists to

uncover changes in policy and practice and abuses by the agency.

   11. Defendant ICE is an executive agency of the United States government and is principally

responsible for enforcing federal immigration laws. ICE is an agency within the meaning of 5

U.S.C. § 522(f)(1). ICE is an agency within the U.S. Department of Homeland Security

(“DHS”).

   12. ICE has custody, possession, and control over the records sought by Stevens under the

Act, and ICE had such custody, possession, and control at the time the records were requested.

   13. The U.S. Department of Homeland Security (“DHS”) is a cabinet department of the

United States federal government and an executive agency with the primary mission of securing

the United States. DHS is an agency within the meaning of 5 U.S.C. § 522(f)(1).

   14. DHS may have custody, possession, and control over some of the records sought by

Stevens under the Act, and DHS may have had such custody, possession, and control at the time

the records were requested.

FOIA Requests

Request no. 1 – Subfield office locations

   15. On August 6, 2018, Stevens submitted a request to ICE for the following, pursuant to

FOIA:

        1) A list of all ICE Enforcement and Removal Field and Subfield offices by control city,
        including the complete phone numbers and addresses of these offices in the United States


U.S. Citizens Mistakenly Deported” April, 2017,
https://www.prisonlegalnews.org/news/2017/apr/3/ignorancebureaucracy-and-red-tape-us-
citizens-mistakenly-deported/; Asbury Park Press, “How ICE Can Detain U.S. Citizens,” March,
2017, http://www.app.com/story/news/local/publicsafety/2017/03/23/immigration-know-your-
rights-trump-freehold/99459216/. Stevens in 2020 assisted the Government Accountability
Office in its research for a report being prepared at the request of Rep. Jerry Nadler (D-NY),
Chair, House Judiciary.
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       and abroad and information on holding cells in these locations, as well as the number of
       unique individuals in custody at that location between Monday, July 30 and August 5,
       2018. Please include as well all locations at which individuals were held for more than
       24 hours and the dates on which that occurred between January 1, 2016 and the day of the
       release of information.

       2) Please include the Excel spreadsheet and screen shots of the data base interface used to
       produce the search results.

       3) A list of addresses for locations listed as "unavailable" in the release to the NIJC of
       11/6/2017 (https://immigrantjustice.org/sites/default/files/uploaded-files/no-content-
       type/2018-06/ICE_Facility_List_11-06-2017-web.xlsx).

   16. On September 5, 2018, the ICE FOIA Office sent an email to Stevens referencing 2018-

ICFO-56530 as the case number assigned to the request and stating as follows:

               In conducting a search for responsive records, the ICE FOIA office has
               determined that further clarification is needed regarding your request. Please
               describe what you mean by "information on holding cells" and "unique
               individuals in custody at that location." Please provide the ICE FOIA office with
               a response as soon as possible to avoid any further delay in the processing of your
               request. If a response is not received within 30 days, your request will be
               administratively closed.

   17. This inquiry is evidence of ICE’s pattern and practice of triggering unwarranted and

unjustified delays within the FOIA determination process. There is no lawful basis for tolling the

20 days imposed by Congress for responding to this and other requests.

   18. On September 5, 2018, within the hour of ICE sending their inquiry, Stevens clarified

both points of professed confusion by stating the following:

               1) "Holding cells" is the term of art used by ICE and federal courts to refer to
               areas where people arrested by ICE or other components of DHS are held. Hence
               the name "holding cells." e.g., here is a reference in an ICE document to "holding
               cells."
               https://www.ice.gov/doclib/foia/prea_audit/losAngelesStagingFacilityMar14_15_
               2017.pdf (Just use control/f.) You can find dozens more references on your own
               website, if you go to ice.gov and type "holding cells" into the search box. Please
               see this reference as well from an ICE spokesperson.
               https://www.kansas.com/news/business/bizcolumnsblogs/carrie-
               rengers/article1114192.html.
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               2) Per the American Heritage Dictionary, A "unique individual" is one
               distinguishable human being. ICE maintains data on this, and I included a link to
               this data.

   19. On September 10, 2018, Stevens checked the status of the request on the FOIA online

tracking platform. The platform reported the status of her request was “On Hold - Other”. To

address this, Stevens sent an email to the ICE FOIA Office stating the following:

               Can you please advise as to the estimated date of completion, insofar as the
               agency has gone beyond the time allowed by statute? I am not sure about the
               nature of this delay. The information I am seeking is any description of the
               facility holding people, i.e., the square feet, availability of a toilet, security, access
               to visitors. And I want to know how many people are held in these facilities in a
               particular time frame, per my request.

   20. The email went unanswered by ICE.

   21. On March 15, 2019, ICE issued a “final response” to Stevens request, stating that the

search of the ICE Office of Enforcement and Removal Operations (ERO) for records produced

one spreadsheet responsive to her request.

   22. On May 1, 2019, Stevens appealed the determination as the production was not a

responsive document as contemplated by FOIA; the response included only the city locations of

the offices and omitted the full addresses and phone numbers of the locations as well as other

information responsive to her request, while the cover letter included no legal grounds for this

omission.

   23. On May 20, 2019, the Government Information Law Division of DHS sent Plaintiff a

letter claiming to have received the appeal on May 20, 2019 and assigning it case number 2019-

ICAP-00377.

   24. In a letter dated June 18, 2019, ICE issued a response summarizing the appeal tracked as

2019-ICAP-00377 and then stating: “ICE is therefore remanding your appeal to the ICE FOIA
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Office for the completion of processing, including tasking to the appropriate agency/office(s) to

obtain any responsive documents, and a direct response to you.”

      25. As of May 1, 2020, 318 business days have lapsed since the appeal was remanded but

Plaintiff’s request has not been completed.

Request No. 2 – Lauren Underwood and Electronic Health Records

      26. On November 22, 2019, Stevens submitted to the Department of Homeland Security

through an online portal a request for the following information:

              1) all communications and related materials created, received, or maintained by the
              Department of Homeland Security to which Rep. Lauren Underwood(D-IL) or any
              member of her staff were a party. This includes but is not limited to all email, text
              messages, notes, reports, memorandums, proposed bill texts, and bill evaluations. In a
              floor speech of 9/26/2019 Rep. Underwood stated she received information from the
              "Department of Homeland Security" indicating a request for an integrated Electronic
              Health Records System she referenced as "EHR." She refers to this in her remarks on
              HR 3525 as a "direct ask from medical officers at the Department of Homeland
              Security."

              2) DHS communications and related materials created by or received from other
              components of DHS or the Department of Health and Human Services Office of
              Refugee Resettlement about the use of Electronic Health Records systems already in
              place as well as the establishment of an EHR for the use by offices of CBP.

              3) Information on meetings and communications with private individuals, including
              but not
              limited to lobbyists or company officials related to past, current, or potential
              "enterprise" or other information technologies for collecting, coordinating, or
              maintaining health records data for those encountered or detained by DHS or any
              component of DHS. Technical reports, email, text messages, or other communications
              with the private sector tied to past, current, or potential contracts tied to EHR
              systems.

              The time frame of this request is January 1, 2017 to the present, by which I mean the
              date a search is initiated by the tasked component.12


12
     Stevens co-authored, "Democratic Representative Pushed to Create a Massive Migrant Health
       Database that No One Wants," The Intercept, Jan. 4, 2020,https://theinter-
       cept.com/2020/01/04/border-patrol-cbp-migrant-health-database. She seeks these records for
       her ongoing investigations of government corruption.
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   27. On December 2, 2019 Stevens received by email letter from DHS restating her request

and assigning it case number 2020-HQFO-00215. The letter, signed by James Holzer, Deputy

Chief Privacy Officer, Deputy Chief FOIA Officer, DHS, stated:

       Due to the subject matter of your request, I am transferring this request to the FOIA
       Officers for United States Immigration and Customs Enforcement (ICE), and U.S.
       Customs and Border Protection (CBP), for processing under the FOIA and direct
       response to you.

   28. On January 22, 2020, Stevens received an email referencing her FOIA request with a new

tracking number: 2020-ICFO-18634. The correspondence stated in relevant part as fallows:

       we determined that your request is too broad in scope, did not specifically identify the
       records which you are seeking, or only posed questions to the agency. Records must be
       described in reasonably sufficient detail to enable government employees who are
       familiar with the subject area to locate records without placing an unreasonable burden
       upon the agency.... Please resubmit your request containing a reasonable description of
       the records you are seeking. Upon receipt of a perfected request, you will be advised as
       to the status of your request. If we do not hear from you within 30 days from the date of
       this letter, we will assume you are no longer interested in this FOIA request, and the case
       will be administratively closed. Please be advised that this action is not a denial of your
       request and will not preclude you from filing other requests in the future.

   29. That same day, January 22, 2020, Stevens replied: “This is a very specific description of

the records I am seeking. Please produce the responsive documents immediately; the response

time already has exceeded the statutory limit.”

   30. Stevens received no further reply.

   31. Plaintiff attempted repeatedly to contact ICE via the phone number provided. On January

23, 2020, she sent the following email to ice-foia@dhs.gov with subject line 2020-ICFO-18634

and problem with ICE telephonic service, in violation of the FOIA statute:

   To whom it may concern, Over the past seven months, including today, I have attempted to
   contact this office over the phone. So far, I have been unable to do either, as my calls are
   dropped each time. When I call the number provided both on the cover letter of the FOIA
   response and on your .gov website for the ICE/FOIA PA headquarters office (866-633-1182),
   I am directed to press 1 (for english), press 3 (for questions regarding my FOIA case), and
   hold as I am transferred to two different lines until the call is dropped. This has happened on
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   previous occasions, indicating the problem seems to be systematic. I would very much
   appreciate a response to this email as soon as possible 1) explaining why I cannot get in
   contact over the phone; 2) providing a responsive phone number for me to contact; and 3)
   providing me immediate response to the email I sent yesterday re: 2020-ICFO-18634 and
   ICE's unlawful refusal even to initiate a search for a legally valid request in the statutory time
   frame much less produce responsive documents. I am trying to clear this up with the agency
   to avoid the need to bring another lawsuit against ICE and needless waste taxpayer and
   judicial resources. Please let me know if ICE will be conducting the search. If not I will be
   forced to include this case in my upcoming FOIA complaint. Thank you, Jackie.”

   32. Stevens received no documents and no further communication from Defendant regarding

this properly submitted FOIA request.

   33. As of May 1, 2020, 107 days have lapsed since Stevens submitted her request.

   Request No. 3 – Butler County Jail

   34. On March 25, 2019, Stevens submitted a FOIA request for the following information:

          All documents ICE has referencing the Butler County Jail work program for
          detainees, including but not limited to documents with the language about porters
          Chief Dwyer stated he had personally read in an IGSA, as well as all other
          correspondence about the Butler County's use of people held under immigration law
          to perform work in and around the facility. People likely to have or have access to
          responsive documents include but are not limited to Tae Johnson and Kevin Landy.

          All formal and informal compliance reports and follow-up correspondence, including
          but not limited to email, attachments, grievances or complaints, and contract addenda
          for Butler County, in particular associated with the deficiencies noted in the reports.

          All data tracking the length of time people are held in the Butler County facility; if
          there is a db with the number of days/alien please send me an output from that db
          with the individually identifying information redacted but including the date of arrival
          and transfer from the facility, as well as the status of the case at the time of transfer,
          i.e., VD, removal, termination, transfer to another ICE facility. The date for this
          request is April 11, 2014 through the time documents are submitted from the
          component to the ICE FOIA office for redaction or the time frame when the
          documents are produced in litigation, whichever is most contemporary to their
          production to me.

   35. On April 8, 2019, ICE responded via email confirming receipt of the request and

assigning it tracking number 2019-ICFO-33429. Defendant invoked a 10-day extension of the
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mandated FOIA response period due to the fact that Stevens request “seeks numerous documents

that will necessitate a thorough and wide-ranging search.”

   36. On August 16, 2019, a research assistant working under the supervision of Plaintiff

checked the status of the request on the DHS FOIA status website. The platform reported that the

request’s status as “Request for Docs Sent.”

   37. Plaintiff has received no responsive documents for Defendant.

   38. As of May 1, 2020, 267 business days have lapsed since ICE acknowledged receipt of the

request on April 8, 2019.

   Request No. 4: Kenosha Jail

   39. On January 16, 2019, Stevens submitted the following FOIA request to Defendant:

           for the following maintained, received, or required to be produced by ICE related to
           health care services at the Kenosha County, WI jail for individuals held under
           immigration laws. The component most likely to have responsive records is the ICE
           Health Service Corps, though contract and civil rights monitoring components of ICE
           also are likely locations for such records.

           1. All contracts and associated attachments, memorandums of understanding, email,
           and all other items associated with the submission; acceptance, and review of
           detainee health with Kenosha County, WI for health care provided to people held
           under immigration laws.

           2. All logs of grievances (oral and written) submitted by people detained at the
           Kenosha County facility.

           3. All medical expense reports submitted to ICE for the Kenosha County facility.

           4. All reviews and reports on health care services provided to people held under
           immigration laws at the Kenosha County facility, including regular reports, ad hoc
           reports, and those based on specific grievances or complaints generated by any
           source.

           5. All reports of hunger strikes.

           6. All reports of hospitalization outside of the Kenosha County facility for people
           held under immigration laws by Hudson County. The time frame of this request is
           January 1, 2015 to the present.
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           Databases that may have information responsive to this request include but are not
           limited to: CaseTrakker, MedEZ, Dental XRay System, Criminal Institution
           Pharmacy System, Medical Payment Authorization Request Web System (MedPAR)
           and Medical Classification Database.

   40. On February 26, 2019, Stevens received a tracking number for the request: 2019-ICFO-

2917.

   41. On June 10, 2019, Stevens received a “final response” of just 15 pages.

   42. On August 16, 2019, Stevens appealed the response, stating in part:

        I noted in my request that the component most likely to have responsive records is the
        ICE Health Service Corps, though contract and civil rights monitoring components of
        ICE also are likely locations for such records. It was assigned case no 2019-ICFO-29171.
        I write here to appeal the “final response,” received on June 10, 2019.

        The June 10 response claims to have found 15 pages responsive to my request. However,
        it is missing a number of responsive documents. These include but are not limited to: all
        contracts and associated attachments, memorandums of understanding, email, and all
        other items associated with the submission, acceptance, and review of detainee health
        with Kenosha County, WI for health care provided to people held under immigration
        laws, all logs of grievances (oral and written) submitted by people detained at the
        Kenosha County facility, all reports of hunger strikes, and all reports of hospitalization
        outside of the Kenosha County facility for people held under immigration laws by
        Hudson County [sic].

        Upon information and belief your agency does in fact possess documents enumerated
        above, I would appreciate it if you would produce records responsive to my request as
        soon as possible or state legal reasons for not producing it.

   43. On September 26, 2019 Defendant asserted that the appeal was received on August 29,

2019 and assigned it case number 2019-ICAP-00567. The letter stated in part:

        Please note the contract between ICE and Kenosha County specifically pertains to
        detention and/or transportation services, not medical services. ICE does not maintain
        records regarding medical services for detention centers that are not Service Processing
        Centers. Therefore, in order to receive records that are responsive to the portions of your
        request pertaining to medical services, you should submit a request directly to the
        Kenosha County detention facility.

        With that said, however, and upon a complete review of the administrative record
        and the search documentation, ICE has determined that a new search(s), or
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       modifications to the existing search(s), could be made specifically pertaining to those
       portions of your request that do not seek medical service records. ICE is therefore
       remanding your appeal to the ICE FOIA Office for processing and re-tasking to the
       appropriate agency/office(s) to obtain any responsive records.

   44. As of May 1, 2020, 147 business days have lapsed since the appeal was remanded but

Plaintiff’s request has not been completed and no additional documents have been received.

   Request No. 5 – Jail Services Costs Statements

   45. On August 23, 2018, Stevens submitted a request via email to ICE for the following

information:

       A. The most recent Jail Services Costs Statement (JSCS) for the following facilities ICE
       uses to hold people under immigration laws:
               1) the Berks County Residential Center, Berks County, PA;
               2) South Texas Family Residential Center, Dilley, TX;
               3) Hudson County Jail, Hudson County, NJ;
               4) Stewart County, GA, (CoreCivic);
               5) Aurora, Colorado (GEO)
               6) Tacoma, WA (GEO)
               7) Otay Mesa, CA (CoreCivic)
               8) Eloy, EZ (CoreCivic)
               9) Pinal County Jail, AZ
               10) Otero County Processing Center, NM (MTC)
               11) Joe Corley Detention Facility, Conroe TX (GEO)
               12) Houston, TX (CoreCivic on Export Drive)
               13) IAH, Secure Adult Detention Center (MTC) (Livingstone, TX)
               14) LaSalle, LA

       B. Memorandum from Michael J. Davidson, Chief, CALD, OPLA, ICE to William C.
       Randolph, Director and Head of Contracting Activity, OAQ, ICE, Funding
       Intergovernmental Service Agreements (Feb. 7, 2013).

       C. All information in any medium including but but (sic) not limited to e-mail, text
       messages, reports, contracts, memoranda, letters, or faxes signed by, from, to OR about
       Charlie Dent, John McCormack, Eric Ruth, Matthew Lerch, Judith Kraine, Mark
       Baldwin, William Dennis, Thomas Gajewski, Judith Schwank, Mark Scott in ICE
       components that handle Berks County, PA ICE Intergovernmental Service Agreements
       (IGSAs) and not responsive to previous requests. This means any document under ICE
       control associated with detention or removal operations, facility leases, purchases, sales,
       or services rendered in Berks County, PA that references any of the individuals listed
       above is responsive to this request. Please make sure to inquire of any ICE component
       responsible for any negotiations with Berks County. The time frame of this request is
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  2000 to the present. The most likely location of records responsive to this request are
  offices responsible for the Berks County, PA operations, contracts, and reviews,
  including but not limited to litigation for that facility. In particular, there should be
  communications in 2006 about ICE-contracted facility firings based on allegations of
  unlawful actions. Components within ICE that are alerted about misconduct or possible
  litigation should be searched for responsive records.

  D. All grievance logs and grievances for Berks County, PA, Hudson County, NJ, and
  Otero County Processing Center, January 1, 2010 to present (Names and other Personally
  Identifying information is of course exempt and may be redacted.)

  E. All Jail Services Costs Statements for Berks County Family Facility and Hudson
  County, NJ 2001 to present.’

  F. Since January 1, 1999, the earliest first 100 pages of documents associated with the
  IGSA for:
           1. Berks County, PA
           2. Hudson County, NJ
  For “F” please request documents of the component of ICE predecessor INS that would
  initiate discussions of IGSAs for the purposes of holding people under immigration laws.

   I am seeking the first information referencing these county governments as suitable
  detention locations by an INS component in any medium, including but not limited to
  emails, letters, proposals, memorandums, or reports.

  G. All Evaluations associated with contracts for facilities below, including technical and
  performance evaluations by the Contracting Officers and ICE Detention Planning and
  Acquisition Unit and ongoing performance and renewals by contract officers EXCEPT
  Inspector reports. The time frame for this request is January 1, 2000 or the first year of
  the facility’s submission of the JCSC through the present.
          1) the Berks County Residential Center, Berks County, PA;
          2) South Texas Family Residential Center, Dilley, TX;
          3) Hudson County Jail, Hudson County, NJ;
          4) Stewart County, GA, (CoreCivic);
          5) Aurora, Colorado (GEO)
          6) Tacoma, WA (GEO)
          7) Otay Mesa, CA (CoreCivic)
          8) Eloy, EZ (CoreCivic)
          9) Pinal County Jail, AZ
          10) Otero County Processing Center, NM (MTC)
          11) Joe Corley Detention Facility, Conroe TX (GEO)
          12) Houston, TX (CoreCivic on Export Drive)
          13) IAH, Secure Adult Detention Center (MTC) (Livingstone, TX)
          14) LaSalle, LA
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       H. Evaluations of JCSCs by Contracting Officers and ICE Detention Planning and
       Acquisition Unit for all detention contracts since January 1, 2008.

       I. Evaluations of the FIRST JCSCs by Contracting Officers and ICE Detention Planning
       and Acquisition Units (or their predecessors) for all currently operating ICE/INS
       detention facilities except as covered by (H).

   46. On September 5, 2018, ICE sent Stevens an acknowledgement for her request and

assigned it reference number 2018-ICFO-59138.

   47. On October 25, 2018, ICE sent a “final response” letter stating the following:

       ICE has conducted a search of the ICE Office of Enforcement and Removal Operations
       (ERO) and the ICE Office of Acquisitions (OAQ) for records responsive to your request
       and no records were found.

   48. On October 31, 2018, Stevens submitted a timely appeal from the October 25, 2018

determination challenging the adequacy of the search.

   49. On November 26, 2018, the Government Information Law Division of DHS sent a letter

to Plaintiff claiming to have received the appeal on November 23, 2018. The letter

acknowledged the appeal and assigned it case number 2019-ICAP-00109.

   50. On February 19, 2019, ICE issued a “final response” via email, stating the following:

       Upon a complete review of the administrative record, ICE has determined that new
       search(s) or modifications to the existing search(s), could be made. Therefore, ICE is
       remanding your request to the ICE FOIA Office for processing and re-tasking to the
       appropriate agency/office(s) to obtain any responsive documents.

   51. On February 7, 2020 ICE sent Stevens by electronic mail a cover letter signed by Catrina

M. Pavlik-Keenan and one document responsive to Plaintiff’s request which consists of a seven-

page memorandum dated February 7, 2013. Six of the seven pages were redacted in their

entirety save the words “IGSA Funding” in the header. The only exemption cited is b(5).

   52. The cover letter from Ms. Pavlik-Keenan, dated February 4, 2019, states: “After review

of the documents on remand, I have determined that portions of documents will be withheld
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pursuant to exemptions of the FOIA as described below. The letter invoked exemption 5, 6, 7(c).

Pavlik-Keenan does not state how the search was conducted, nor the total number of records

responsive to the request that were withheld.

Request No. 6 -Hudson County Jail

   53. On December 16, 2018, Stevens submitted a FOIA request seeking all items maintained,

received, or required to be produced by ICE related to health care services at the Hudson County

jail for individuals held under immigration laws, including:

       All contracts and associated attachments, memorandums of understanding, e-mail, and all
       other items associated with the submission, acceptance, and review of the CFG Health
       Systems, LLC, contracts with Hudson County for health care provided to people held
       under immigration laws.

       All logs of grievances (oral and written) submitted by people detained at the Hudson
       County facility.

       All medical expense reports submitted to ICE, including via Hudson County.

       All reviews and reports on health care services provided to people held under
       immigration laws at the Hudson County facility, including regular reports, ad hoc reports,
       and those based on specific grievances or complaints generated by any source.

       All reports of hunger strikes.

       All reports of hospitalization outside of the Hudson County facility for people held under
       immigration laws by Hudson County.

   54. On December 17, 2018, ICE sent Stevens a confirmation receipt for her request and

assigned it tracking number 2019-ICFO-24680.

   55. On February 27, 2019, a research assistant looked up the status of the request on the

FOIA online platform. The system reported that “There is no FOIA request in the system for that

number.”

   56. On July 5, 2019, a research assistant checked the platform again, and the system reported

that the status is “request for docs sent” with an estimated delivery date as February 22, 2019.
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   57. On September 18, 2019, Stevens received by electronic mail a cover letter signed by

Catrina M. Pavlik-Keenan and production of six pages plus an Excel spread sheet.

   58. On or about October 3, 2019 Stevens sent ICE an appeal of the response and indicated it

was her belief that numerous documents responsive to her request had not been produced.

   59. On November 4, 2019, ICE indicated that it had received the appeal on November 4,

2019 and assigned it tracking number 2020-ICAP-00063.

   60. On December 4, 2019, Stevens received by electronic mail a letter with the same date

signed by Shiraz Panthaky, Chief Government Information Law Division. The letter states in

part: “Upon a complete review of the administrative record, ICE has determined that a new

search(s) or modifications to the existing search(s), could be made. Therefore, ICE is remanding

your request to the ICE FOIA Office for processing and re-tasking to the appropriate

agency/office(s) to obtain any responsive records, should they exist.”

   61. Plaintiff has received no additional records after remand.

   62. As of May 1, 2020, 101 business days have lapsed since the appeal was remanded but

Plaintiff’s request has not been completed.

   63. Plaintiff has exhausted all available administrative remedies.

Claims for Relief

Count I – Violation of FOIA

   64. All previous paragraphs are incorporated as though fully set forth herein.

   65. Plaintiff has a statutory right under the Act to obtain the agency records properly

requested in her six requests identified above.
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   66. No legal basis exists for Defendants DHS and ICE’s failure to promptly docket, process,

respond, and produce responsive agency records in accordance with the timing and other

requirements of the Act.

   67. DHS and ICE’s failure to disclose all responsive agency records in connection with

Stevens’ six requests identified above, as well as its failure to (1) docket and process Stevens’ 22

November, 2019 request for records [Request No. 2]; (2) timely respond to her March 25, 2019

[Request No. 3] and 22 November, 2019 [Request No. 2] requests; (3) process on remand and

respond to the August 6, 2018 [Request No. 1], January 19, 2019 [Request No. 4], and December

16, 2018 [Request No. 6], requests; (4) provide a legally sufficient appellate response to Request

Nos. 2 and 5; and (5) conduct proper searches to locate documents responsive to the six FOIA

requests, each violate the Act, as well as regulations promulgated by DHS.

   68. As of the date of this Complaint, Defendants has failed to produce all records requested

by Plaintiff in her six FOIA requests or to demonstrate that such records are lawfully exempt

from production. See 5 U.S.C. § 552(a)(6)(C). Nor have Defendants notified Plaintiff of the

scope of any responsive records it intends to produce or withhold and the reasons for any

withholdings, nor informed Plaintiff that it may appeal any specific, adverse determination.

   69. By failing to timely process and respond to Plaintiff’s requests within the statutorily

prescribed time limits, Defendants have violated their respective duties under the FOIA,

including but not limited to their duties to conduct a reasonable search for responsive records and

to produce all responsive, reasonably segregable, non-exempt information. Therefore,

Defendants are unlawfully withholding records requested by Plaintiff pursuant to 5 U.S.C. § 552.

   70. Plaintiff is being irreparably harmed by reason of Defendants’ unlawful withholding of

records responsive to Plaintiff’s FOIA requests and their failure to comply with their respective
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obligations under FOIA, and Plaintiff will continue to be irreparably harmed unless Defendants

are compelled to conform its conduct to the requirements of the law.

   Count II – Declaratory and Injunctive Relief against ICE

   71. Plaintiff re-alleges and incorporates paragraphs 1 through 60.

   72. Defendant ICE has a mandatory statutory duty under 5 U.S.C. § 552(a)(3) to conduct a

reasonable search for records responsive to FOIA requests and to make a determination on each

request within the time period set forth in 5 U.S.C. § 552(a)(6): 20 business days, to be extended

by no more than 10 business days in the event that the agency notifies the requester in writing of

the existence of “unusual circumstances.” 5 U.S.C. § 522(a)(6)(B)(i)

   73. ICE has failed to make determinations on Plaintiff’s FOIA requests, appeals, and

remands within the timeframes required by statute. Defendant’s failures are part of a pattern and

practice of such deliberate violations of FOIA. Exceptional circumstances do not justify ICE’s

delay in processing FOIA requests.

   74. ICE has failed to allocate sufficient resources to address its FOIA backlog, including

allocating sufficient budgetary and personnel resources to comply with the timeframes imposed

by the Act.

   75. Defendant’s backlog demonstrates the existence of a pattern and practice of deliberate

and repeated failures to make timely determinations on FOIA requests, process appeals, and

promptly produce responsive records within the statutory time periods and in good faith.

   76. Defendant also routinely fails to conduct good faith searches for records and redacts

information that is not within the scope of to the carefully crafted statutory exceptions. As a

result, Defendant is precluding the public from monitoring its actions and performance.
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   77. No legal ground, justification, or excuse exists for Defendant’s nationwide pattern and

practice of failing to meet the statutory deadlines with respect to properly submitted FOIA

requests and to discharge its statutory duties in good faith.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests that judgment be entered in her favor and against Defendant,

and that the Court:

   A. Order Defendants and any of their agents or other persons, departments, or components

   acting for, with, by, through, or under them, to conduct a prompt, reasonable search for

   records responsive to Plaintiff’s requests ;

   B. Permanently enjoin and restrain Defendants and any of Defendants’ agents or other

   persons, departments, or components acting for, with, by, through, or under them from

   withholding the agency records at issue in this case;

   C. Declare that the requested records by Plaintiff are not exempt from disclosure under

   FOIA, and order Defendant with custody of the records to disclose the requested records in

   their entirety and make copies available to the Plaintiff;

   D. Declare that Defendant ICE’s pattern and practice of failing to make determinations on

   requests within the statutory time frames violate the Act;

   E. Declare that Defendant ICE’s pattern and practice of failing to make determinations on

   requests remanded for further processing and promptly notify the requestor of its

   determinations violate the Act;

   F. Award Plaintiff reasonable attorneys’ fees and costs pursuant to 5 U.S.C. § 552(a)(4)(E);

   and,

   G. Award all other relief to Plaintiff that the Court deems just, equitable, and proper.
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                     Respectfully submitted,

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